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JUSTIN MOYA,
                                                                          U.S.COUHTtr
                                                                         FEDERALCI.AilS
                      Plaintiff,
               v.
                                                        No. 12-4213C
UNITED STATES,                                          Filed: March 3,2015

                      Defendant.
                        tr*****


                                         ORDER

        Plaintiff is one of twelve current or former employees of the United states
Department of Agriculture, Forest Service, employed in the Los Padres National Forest
in balifornia, who filed a complaint on January 19,2012, to recover $2,500,000.00 in
damages. The complaint brought by these plaintiffs was filed in the United States
District Court for the Central District of California on behalf of the plaintiffs by counsel.
subsequenfly, however, plaintiffs filed a stipulation of dismissal in that court, and the
District Couri dismissed the complaint, without prejudice. SeC Casev D. Allen, et al.. v.
Ed schafer. et al., No. 08-8391 (C.D. Cal. Dec. 8, 2009). When plaintiffs filed their
comptaint in the United States Court of Federal Claims on January 19,2012, they were
represented by different counsel. Plaintiffs' original attorney of record in this court was
Michael D. Daniels. subsequently, Bennett Rolfe, who was one of the original attorneys
in the District court case, replaced Mr. Daniels as plaintiffs' counsel. After Mr. Rolfe
passed away, certain plaintiffs filed motions to represent themselves pro se, which the
court granted, continuing their cases pursuant to the initial complaint filed by the
plaintiffs in this court.

       on october 7,2013, the court consolidated plaintiff's case with the eleven other
pro se plaintiffs. After consolation, the defendant filed a motion to dismiss count two in
plaintiffs' complaint, plaintiffs' breach of contract claims. On January 22,2015, this court
issued an opinion in the above captioned cases dismissing count two in plaintiffs'
complaint, plaintiffs' breach of contract claims. On February 4,2015, the court issued an
order instructing:

       each plaintiff shall file with the court, and send copies to the defendant, a
       notice indicating whether or not each such individual wishes to proceed
       with count one of their complaint, the Fifth Amendment takings claims.
       The notice shall be filed on or before Friday, February 20' 2O15. Plaintiffs
       may consult private counsel or continue to proceed pro se, which is
       currentlv their status in the
       currently                    the cases filed in this court. Plaintiffs also may
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      confer with counsel of record for the defendant prior to filing their notice of
      whether or not they intend to proceed with their case. Although this court
      order requires eithbr a positive or negative notice of intent to proceed to
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      understood by the court as indication that the individual does not wish to
      proceed and ihat the plaintiffs case should be dismissed'

      As of March 3, 2015, plaintiff has not filed a notice with the court. Therefore,
plaintiffls claims are DISMISSED. The Clerk's Office shall enter JUDGMENT consistent
with this Order.

      IT IS SO ORDERED.

                                                                                   \
                                                      MARIAN BLANK HORN
                                                             Judge
